Case 2:18-cr-00422-DJH Document 1060-3 Filed 09/23/20 Page 1 of 6




                   Exhibit 13
Human Trafﬁcking andCase
                     Exploitation | Arizona Attorney General
                           2:18-cr-00422-DJH          Document 1060-3https://www.azag.gov/outreach/human-trafﬁcking-exploitation
                                                                        Filed 09/23/20 Page 2 of 6


            Community Outreach and Education (/outreach) / Human Traﬃcking and Exploitation



          Human Trafficking and Exploitation




             The average age of entry into sex traﬃcking in Arizona is 14 years old.

             The Arizona Attorney General’s Oﬃce, under the leadership of Attorney
             General Mark Brnovich, combats this heinous crime every day through
             outreach, collaboration, and innovative investigative and prosecution
             strategies.

             Since General Brnovich took oﬃce in January 2015, the AGO has obtained 62
             convictions (potentially hyperlink to crim page or press releases) that are
             connected to sex traﬃcking, child sex traﬃcking, or illegal enterprises/money
             laundering in the traﬃcking arena, such as illicit massage parlors. As of July
             31, 2019, the AGO has approximately 135 total cases and 275 open
             defendants charged with crimes connected to human or sex traﬃcking,
             approximately 44 of which are online sting defendants accused of luring
             minors for sex or trying to buy sex from undercover detectives. Learn more
             about criminal prosecution of human traﬃcking (/criminal/traﬃcking/hb2454).



             What is human trafﬁcking?
             Human traﬃcking is a form of modern-day slavery in which traﬃckers use
             force, fraud or coercion to control victims. Sex traﬃcking is any sex act traded
             for something of value that is induced by force, fraud or coercion or in which
             the person induced to perform such an act has not attained 18 years of age.
             Anyone can be a victim of human traﬃcking, including children, and those
             who are targeted come from diverse backgrounds, geographic regions, and
             life experiences. As one of the largest and most proﬁtable criminal enterprises
             in the world, second only to illegal drug trade, it’s imperative that the public
             and people who interact with children are aware of the dangers posed by
             traﬃckers and steps they can take to safeguard Arizona’s youth. Request a
             free presentation (/outreach/presentation-request).



             How does it happen?


1 of 5                                                                                                          9/14/20, 1:28 PM
Human Trafﬁcking andCase
                     Exploitation | Arizona Attorney General
                           2:18-cr-00422-DJH          Document 1060-3https://www.azag.gov/outreach/human-trafﬁcking-exploitation
                                                                        Filed 09/23/20 Page 3 of 6

             Victims are often recruited by a “boyfriend” or “girlfriend,” but may be solicited
             by a friend, peer, family member, or gang member. Traﬃckers use grooming
             tactics, psychological manipulation, deception, physical violence, threats,
             blackmail, and/or sexual assault to get their victim to feel vulnerable, trapped
             and powerless. Their goal is to ﬁnd your vulnerability and exploit it for their
             own ﬁnancial gain. Often, traﬃckers pretend to be in love with their victims,
             showering them with gifts, aﬀection and attention. They may make promises
             of a happier life, a brighter future and true love.

             Eventually they will threaten to harm people close to their victim, such as
             family members or friends, as a way to isolate their victim and maintain their
             compliance. They may also take suggestive photos or videos of their victims
             to use as both blackmail and advertisements for sexual services. Sex buyers
             are the driving force behind this crime, allowing traﬃckers to proﬁt from the
             sexual exploitation of girls and boys.




             Myths vs. Reality




             Download the full Human Traﬃcking booklet (/outreach/publications/human-
             traﬃcking-guide-parents-and-teens).



             What is the Arizona Attorney General’s
             Ofﬁce Doing?
             Human traﬃcking doesn’t just happen in other countries; it happens right here
             in Arizona communities. The Arizona Attorney General’s Oﬃce Community
             Outreach an Education Section travels statewide providing awareness



2 of 5                                                                                                          9/14/20, 1:28 PM
Human Trafﬁcking andCase
                     Exploitation | Arizona Attorney General
                           2:18-cr-00422-DJH          Document 1060-3https://www.azag.gov/outreach/human-trafﬁcking-exploitation
                                                                        Filed 09/23/20 Page 4 of 6

             presentations on traﬃcking for all who are interested. Our presentation,
             tailored and available for youth or adults, instructs participants on how
             traﬃckers in Arizona recruit their victims, the role of social media, and steps
             parents and others can take to protect children. We also provide real-life
             examples of human traﬃcking in Arizona and explain what you should do if
             you suspect someone may be a victim. Schools, faith groups, parents and
             Arizonans who work within the foster care system or social services are
             especially encouraged to receive this training.

             Everyone has a role to play in combating human traﬃcking. Request a free
             training for your group (/outreach/presentation-request).




             (https://safeactionproject.org/)

             The Arizona Attorney General’s Oﬃce is a proud partner of the Arizona Anti-
             Traﬃcking Network and the U.S. Department of Homeland Security
             Investigations – Phoenix on the SAFE Action Project initiative.

             The SAFE Action Project is an Arizona-based, collaborative eﬀort to train
             travel, hospitality, and tourism industry professionals at all levels to identify,
             report and prevent human traﬃcking.

             Training on Human Traﬃcking for Your Staﬀ – At No Cost to You

             We currently oﬀer our trainings in-person to any tourism or hospitality-related
             business. Hospitality and lodging establishments, among others, will beneﬁt
             from curriculum designed by local experts with department-speciﬁc
             information for trainees. Security personnel in a business and front desk staﬀ
             are going to face diﬀerent circumstances due to the scope of their work, and
             their training should reﬂect that. Web-based training modules are also
             available and are easily integrated into new-hire onboarding processes.

             To learn more or to request a training, please visit the Safe Action Project
             website (https://safeactionproject.org/).



             Resources


3 of 5                                                                                                          9/14/20, 1:28 PM
Human Trafﬁcking andCase
                     Exploitation | Arizona Attorney General
                           2:18-cr-00422-DJH          Document 1060-3https://www.azag.gov/outreach/human-trafﬁcking-exploitation
                                                                        Filed 09/23/20 Page 5 of 6



                                                    (https://polarisproject.org/)




                                        (https://humantraﬃckinghotline.org/)




                                           (https://socialwork.asu.edu/stir)




                                                               (https://www.dhs.gov

                                          /blue-campaign)



                                                     (https://sharedhope.org/)




                                                (https://www.phxdreamcenter.org/)




                                                (https://trustaz.org/)




                                      (https://www.nationalsafeplace.org/)




                                                     (http://www.missingkids.com/)




                                                     (https://umom.org/)




                                     (https://www.sextraﬃckinghelp.com/)




4 of 5                                                                                                          9/14/20, 1:28 PM
Human Trafﬁcking andCase
                     Exploitation | Arizona Attorney General
                           2:18-cr-00422-DJH          Document 1060-3https://www.azag.gov/outreach/human-trafﬁcking-exploitation
                                                                        Filed 09/23/20 Page 6 of 6




           2005 N Central Avenue, Phoenix, AZ 85004 | Email: Contact Us (/contact-us) | Phone:
                                            (602) 542-5025
                                     Privacy Statement (/privacy)




5 of 5                                                                                                          9/14/20, 1:28 PM
